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                                                                                t-lLED
                                                                                 JAN O2 2018
                                                                              Clerk, U.S. District Court
                    IN THE UNITED STATES DISTRICT COURT                          District Of Montana
                                                                                       Helena

                          FOR THE DISTRICT OF MONTANA

                                      HELENA DIVISION

 UNITED STATES OF AMERICA,                                   CR 17-18-H-SEH

                                 Plaintiff:                 ORDER

          vs.

 ERNEST JABLONSKY, dba
 MONTANA BIG GAME PURSUITS,
 and MITCH THEULE,

                                 Defendants.

      On January 2, 2018, the Court conducted a hearing on Defendant Ernest

Jablonsky's pending motions. 1

      Upon the record made in open court,



      1
          Docs. 42, 51, 53, 55, 57, 59, 61, 63, 65, 67, 69, 71, and 84.

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      ORDERED:

      1.        Ernest Jablonsky's First Motion Re: Inspecting Files and Producing

Information 2 is DENIED.

      2.       Ernest Jabslonsky's Motion in Limine lA (Facts not in the

Record)(sic) 3 is DENIED.

      3.        Ernest Jablonsky's Motion in Limine IB (Burden of Proof) 1 is

DENIED.

      4.       Ernest Jablonsky's Motion in Limine IC (Failure to Testify)' is

DENIED.

      5.       Ernest Jablonsky's Motion in Limine ID (Expert Testimony not

timely disclosed) 6 is GRANTED.

      6.       Ernest Jablonsky's Motion in Limine IE (Statements of Ernest

Jablonsky)7 is DENIED.




      2
          Doc. 42.
      3
          Doc. 51.
     4
          Doc. 53.

      'Doc. 55.
     6
          Doc. 57.
      7
          Doc. 59.

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      7.         Ernest Jablonsky's Motion in Limine IF (Information not produced

prior to December 9, 2017) 8 is DENIED.

      8.        Ernest Jablonsky's Motion in Limine IG (Ernest Jablonsky's

Criminal Record) 9 is DENIED.

      9.        Ernest Jablonsky's Motion in Limine lll (Pn:cludc or stt·ike testimon)

of witness for whom Jencks material has not been provided) 10 is DENIED.

      10.       Ernest Jablonsky's Motion in Limine l I (Public Sentiment) 11 is

DENIED.

      11.       Ernest Jablonsky's Motion in Limine IJ (Uncharged Conduct) 12 is

DENIED.

      12.       Ernest Jablonsky's Motion in Limine 2 (Statements ofCo-Dclc'ndant

after the alleged conspiracy) 13 is DENIED.




      8
           Doc. 61.
      9
           Doc. 63.
      10
           Doc. 65.
      11
           Doc. 67.
      12
           Doc. 69.

      JJ   Doc. 71.

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        FURTHER ORDERED:

        Defendant Ernest Jablonsky shall file any additional discovery motions on

or before January 3, 20 I 8. Response briefs shall be filed on or before January 8,

2018.

        DATED this   4~ of January, 2018.


                                               United States District Judge




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